Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 1 of 22 PageID: 1




                                                      RECEJ


 v.
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 2 of 22 PageID: 2

                         OF      Tl-f E     /f-C-T to-N
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 3 of 22 PageID: 3




                               h.s
              -   R-   00~       0 -C/O/


                        v       R VfJltLS     J   kc. .J f!a_rtq--L~..e~o"""=';= - - -
                        ( M 4~      2otc.);
       Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 4 of 22 PageID: 4




                                                      ) J~ 13 ., wr~J




                                                                                /.,e
                                                                                        I/
                                                              +It.is



                                                         &   co~~ ...
                                        ~(YD a '/        og~ 1as+-- P!OJ n -l-r:a2_
                ;r.  _                          1n-/-e.Jc~
                                         Jtk.rlb-eMe ,
----~~~~-h'1Ll'.k.-Ll1j   J L~/;er:-br:JL'f '""-j , ~ ber-

                      'J rD SS '1ej /'f} «kt c e J a.__/:HA-S~ ' crf=
-~-~~~~~~~-,-~~~h~~~~~m~a~l~i~c~le& a~seabbah 1
                             re.s t.d hJ_
                       i l'l- 'c Fe .nx.- { c).,J.--=es_
                              I             ~ ~
                                                                 'Jo
~---~~~~~~~--~~~'~~~-~b~~ ~~n t in ~~&~
                                                                       1




                                                Y-e.Lvd--!~--      resc....,   /-1--J .


                                                                                       VI'




                                                                    --                  --
                                                                                                            .I
       Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 5 of 22 PageID: 5




                                                                                                        .




                                                                /A_,   s   v

                                            tr   -                                           :·    I(
                                                 c   /e                            c~rae.Q




                                                                                      ') 1




                                 lf 1 tL. 5 • c 2-3 o(f):r-                    I



.____ ___µ_,~~=~~~~-=---~~~li_rrt-2..J-t±-- by                                               '!!



                                                      y-   JI   1~-0                          '
                                           V,         ~ {ZCJ63 ):
         Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 6 of 22 PageID: 6



                                                                1.-f BIT   A




-----1-1--'---=--i.a.--=.--=-~~-~-b__U ( 1-- A= C~1 s
                                   ,~n    Pel-erson.. v.
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 7 of 22 PageID: 7




                          2-6/S
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 8 of 22 PageID: 8




                                              e      -
                                                    ,,..
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 9 of 22 PageID: 9
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 10 of 22 PageID: 10




                  Io b by +; r Nl-~~~~J-----L..::!!!!~-¥-~~__.
                ~-      ·} -1 0


                                                                        .   --·
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 11 of 22 PageID: 11
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 12 of 22 PageID: 12

                          OF

                                                    f-    B



                           v,



                                                  /Ja~·            v




              skw.           v.
   Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 13 of 22 PageID: 13




                          ../    .                             ,   ~    -


          c,,£ l.I ; /   '5:~J._J'./--       a__n_· _   /1 "           -fu l lo ~ S   ;




                          -·             "




(1 zJ)
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 14 of 22 PageID: 14
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 15 of 22 PageID: 15




                                                  m...avt. e
                                                     If




                                  ...
                                  ·s
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 16 of 22 PageID: 16



                                                                         ,




                                                                                c
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 17 of 22 PageID: 17
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 18 of 22 PageID: 18




                                                         r --                   -
      b                                                  . LS-e-e-   &b.; b «~ §
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 19 of 22 PageID: 19




                                                 /o s--.s


                                   0 IL     -J-l'l_r'_~     I   5 S Ut2.
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 20 of 22 PageID: 20




                                                                  f
Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 21 of 22 PageID: 21




                                    ~ti-8      _v1sf~              New~k:_ 3 _
                                        b1L2>1n~/s
    Case 3:18-cv-14649-BRM-LHG Document 1 Filed 10/04/18 Page 22 of 22 PageID: 22




                                                                     077




----+-+-----+---------~' ~                                       )   f\fJ   a   if{:,   $---S


                     Ple.9-Be
